              Case 1:15-cr-00348-ERK Document 188 Filed 09/26/19 Page 1 of 6 PageID #: 2079
AO 24SB(Rev. 11/16) Judgment in a Criminal Case
                     Sheet 1




                                       United States District Court
                                                         Eastern District of New York

              UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                 V.


                   SAUL RENDON-REYES                                              Case Number: 15CR348

                                                                                  USM Number: 38702-265

                                                                                   LLOYD EPSTEIN
                                                                                  Defendant's Attorney
THE DEFENDANT;

EZl pleaded guilty to count(s)        1,9 0F15CR348

□ pleaded nolo contendere to count(s)
   which was accepted by the court.
□ was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count

 18:1961(1)                       RACKETEERING                                                               11/30/2015                   1

 18:1591(a)(1)                    SEX TRAFFICKING                                                            4/30/2007                    9




       The defendant is sentenced as provided in pages 2 tlu'ough                        of this Judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
   Count(s)       RMG                                    □ is      EZf are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attomey for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fufly paid. If ordered to pay restitution,
the defendant must notify the court and United States attomey of material changes in economic circumstances,

                                                                          1/4/2019
                                                                         Date of Imposition of Judgment


                                                                                s/ Edward R. Korman
                                                                         Signature of Judge




                                                                          EDWARD R. KORMAN, USDJ
                                                                         Name and Title of Judge




                                                                         Date
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                     Sheet 2 — Imprisonment
                                                                                                      Judgment — Page        of

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                                                             IMPRISONMENT

          The defendant is hereby committed to the custody ofthe Federal Bm eau ofPrisons to be imprisoned for a total
 term of:

  ONE-HUNDRED-EIGHT(180) MONTHS.




     □ The court makes the following recommendations to the Bureau of Prisons:




     EZl The defendant is remanded to the custody of the United States Marshal.

     □      The defendant shall surrender to the United States Marshal for this district:

            □ at                                   □ a.m.        □ p.m.         on
            □ as notified by the United States Marshal.

     □ The defendant shall sunender for service of sentence at the institution designated by the Bureau of Prisons:
            □ before 2 p.m. on                                             .
            □ as notified by the United States Marshal.

            □ as notified by the Probation or Pretrial Services Office.


                                                                    RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                          to


                                                      , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL




                                                                               By
                                                                                                  DEPUTY UNffED STATES MARSHAL
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AO 245B(Rev. 11/16) Judgment in a Criminal Case
                    Sheet 3 — Supervised Release
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DEFENDANT: SAUL RENDON-REYES
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                                                       SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:            FIVE YEARS.

                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one ding test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            □ The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse, (check if applicable)
4.      ^ You must cooperate in the collection of DNA as directed by the probation officer, (check ifapplicable)
5.      □ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense, (check ifapplicable)
6.      □ You must participate in an approved program for domestic violence, (check ifapplicable)


You must comply with the standard conditions that have been adopted by tliis court as well as with any other conditions on the attached
page.
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AO 245B(Rev. 11/16)   Judgment in a Criminal Case
                      Sheet 3A — Supervised Release
                                                                                              Judgment—Page         4        of
DEFENDANT: SAUL RENDON-REYES
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                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instmcts you to report to a different probation office or within a different time
     frame.
2.   After initially reporting to the probation office, you "will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     aiTangements(such as the people you live wilh), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware ofa change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supen'ision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week)at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer e.xcuses
     you from doing so. If you plan to change where you work or anything about your work(such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware ofa change or expected change.
8.   You must not coimnuiiicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted ofa felony, you must not knowingly communicate or interact with that person without fimt getting the permission ofthe
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not ovra, possess, or have access to a fireaim,anmiunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific puipose ofcausing bodily injury or death to another person such as nmichakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the peimission ofthe court.
12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may-
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions ofthe probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgment containing these conditions. For further information regarding these conditions, see 0\>en'iew ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
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                      Sheet 3B — Supervised Release
                                                                                            Judgment—Page         of

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                                     ADDITIONAL SUPERVISED RELEASE TERMS

 Of removed, the defendant shall not illegally reenter the United States;
 OThe defendant shall cooperate and abide by all instructions of immigration authorities.
 Uhe defendant shall comply with the forfeiture and restitution orders.
 Opon request, the defendant shall provide the U.S. Probation Department with full disclosure of his financial records,
 including co-mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of
 the financial accounts reported and noted within the presentence report, the defendant is prohibited from maintaining
 and/or opening any additional individual and/or joint checking, savings, or other financial accounts,for either personal or
 business purposes, without the knowledge and approval of the U.S. Probation Department. The defendant shall cooperate
 with the Probation Officer in the investigation of his financial dealings and shall provide truthful monthly statements of his
 income and expenses. The defendant shall cooperate in the signing of any necessary authorization to release information
 forms permitting the U.S. Probation Department access to his/her financial information and records.
 She defendant shall comply with any applicable state and/or federal sex offender registration requirements, as instructed by
 the probation officer, the Bureau of Prisons, or any state offender registration agency in the state where he resides, works,
 or is a student;
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet S — Criminal Monetary Penalties
                                                                                                     Judgment — Page      6     of
 DEFENDANT: SAUL RENDON-REYES
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                                              CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                  JVTA Assessment*              Fine                       Restitution
 TOTALS            $ 200.00                    $                             $                            $ 218,400.00



 □ The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (A0245C) will be entered
      after such determination.


 □ The defendant must make restitution (including conununity restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                               Total Loss**                        Restitution Ordered                   Priority or Percentage




 TOTALS
                                                               0.00         c                        0.00


 □     Restitution amount ordered pursuant to plea agreement $

 □     The defendant must pay interest on restitution and a fine of more than $2,500, unless the mstitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pmsuant to 18 U.S.C. § 3612(g).

 □     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        □ the interest requirement is waived for the           □ fine   □ restitution.

        □ the interest requirement for the         □    fine    □   restitution is modified as follows:

  * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109 A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
